Case 5:23-cv-00595-TJC-PRL Document 27-5 Filed 06/11/24 Page 1 of 4 PageID 122




                        EXHIBIT E
        Case 5:23-cv-00595-TJC-PRL Document 27-5 Filed 06/11/24 Page 2 of 4 PageID 123




From:                            Benjamin Bard
Sent:                            Wednesday, June 5, 2024 9:23 AM
To:                              Serena Kurtz
Cc:                              Benjamin Briggs; Erica Pope; Elaine Glotz; patrick@getkurtz.com;
                                 SMK@KubickiDraper.com
Subject:                         RE: SERVICE OF DOCUMENTS: Justin Nelson v. Rhyno Construction, Inc., No. 5:23-
                                 cv-00595-JSM-PRL

Importance:                      High


Serena,

Please respond to my numerous e-mails below or provide your availability for a call to confer no later than the
close of business today. If you fail to respond again, we will have no choice but to file a motion to compel, as well
as Defendant’s fees incurred in filing that motion.

Ben



From: Benjamin Bard
Sent: Monday, June 3, 2024 10:13 AM
To: 'Serena Kurtz' <serena@getkurtz.com>
Cc: Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope <Erica.Pope@arlaw.com>; Elaine Glotz
<Elaine.Glotz@arlaw.com>; 'patrick@getkurtz.com' <patrick@getkurtz.com>; 'SMK@KubickiDraper.com'
<SMK@KubickiDraper.com>
Subject: RE: SERVICE OF DOCUMENTS: Justin Nelson v. Rhyno Construction, Inc., No. 5:23-cv-00595-JSM-PRL
Importance: High


Serena,

I am following up on my e-mail below. Please advise whether Plaintiff intends to serve amended initial disclosures,
as well as full and complete responses to Defendant’s discovery requests. If you do not intend to serve those
documents, please let me know when you can be available for a call to confer on a motion to compel today or
tomorrow.

Ben



From: Benjamin Bard
Sent: Thursday, May 30, 2024 9:44 AM
To: Serena Kurtz <serena@getkurtz.com>
Cc: Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope <Erica.Pope@arlaw.com>; Elaine Glotz
<Elaine.Glotz@arlaw.com>; patrick@getkurtz.com; SMK@KubickiDraper.com
Subject: RE: SERVICE OF DOCUMENTS: Justin Nelson v. Rhyno Construction, Inc., No. 5:23-cv-00595-JSM-PRL
Importance: High


Serena,
                                                          1
          Case 5:23-cv-00595-TJC-PRL Document 27-5 Filed 06/11/24 Page 3 of 4 PageID 124
I am following up on my e-mail below. Additionally, you stated on our call last week that you would be serving
amended initial disclosures this week. Please let me know when you will be serving those amended initial
disclosures, as well as full and complete responses to Defendant’s First Set of Interrogatories and First Request
for Production. If you do not intend to serve those documents, please let me know when you can be available for a
call to confer on a motion to compel.

Thanks,

Ben

From: Benjamin Bard <Benjamin.Bard@arlaw.com>
Sent: Tuesday, May 28, 2024 9:12 AM
To: Serena Kurtz <serena@getkurtz.com>
Cc: Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope <Erica.Pope@arlaw.com>; Elaine Glotz
<Elaine.Glotz@arlaw.com>; patrick@getkurtz.com; SMK@KubickiDraper.com
Subject: RE: SERVICE OF DOCUMENTS: Justin Nelson v. Rhyno Construction, Inc., No. 5:23-cv-00595-JSM-PRL
Importance: High


Serena,

Plaintiff’s responses to Defendant’s First Set of Interrogatories and First Request for Production were due on May
24, 2024. Given Plaintiff’s failure to timely serve responses, any objections have been waived. Please let us know
when we can expect to receive full and complete responses to Defendant’s discovery requests as soon as
possible.

Thanks,

Ben



Benjamin Bard |
Partner
100 N. Tampa Street, Suite 4000 | Tampa, FL 33602
P: 813.227.5510
Benjamin.Bard@arlaw.com | Bio | vCard | X | LinkedIn

From: Elaine Glotz <Elaine.Glotz@arlaw.com>
Sent: Wednesday, April 24, 2024 2:52 PM
To: Serena Kurtz <serena@getkurtz.com>; patrick@getkurtz.com; SMK@KubickiDraper.com
Cc: Benjamin Bard <Benjamin.Bard@arlaw.com>; Benjamin Briggs <Ben.Briggs@arlaw.com>; Erica Pope
<Erica.Pope@arlaw.com>
Subject: SERVICE OF DOCUMENTS: Justin Nelson v. Rhyno Construction, Inc., No. 5:23-cv-00595-JSM-PRL


 Court:                                   United States District Court, Middle District of Florida, Ocala Division
 Case No.:                                5:23-cv-00595-JSM-PRL
 Plaintiff:                               Justin Nelson
 Defendant:                               Rhyno Construction, Inc.
 Document:                                   1. Defendant’s Initial Disclosures;
                                             2. Defendant’s First Request for Production to Plaintiff; and

                                                          2
    Case 5:23-cv-00595-TJC-PRL Document 27-5 Filed 06/11/24 Page 4 of 4 PageID 125

                                3. Defendant’s First Set of Interrogatories to Plaintiff.
Serving Attorney:            Benjamin W. Bard, Esquire
Serving Attorney’s Contact   Benjamin.Bard@arlaw.com
Information:                 (813) 227-5510




                                             3
